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                    EXHIBIT 3
                        [REDACTED]
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1                  IN THE UNITED STATES DISTRICT COURT

2                       FOR THE DISTRICT OF MARYLAND

3

4      -----------------------------------)

5      IN RE UNDER ARMOUR SECURITIES                       )Civil No.

6      LITIGATION                                          )RDB-17-388

7      -----------------------------------)

8

9                                CONFIDENTIAL

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11            Videotaped Deposition of KEVIN A. PLANK,

12            held at 100 International Drive, Baltimore,

13            Maryland, commencing at 10:03 a.m.,

14            Wednesday, February 15, 2023, before

15            Tina M. Alfaro, a Notary Public within

16            and for the State of Maryland.

17

18

19

20

21     JOB No. 5630283

22     PAGES 1 - 349




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1      percent profit when you sold that hundred million          16:11:19

2      in stock, right?                                           16:11:21

3            A.   Virtually.                                      16:11:22

4                 MR. HENSSLER:     Let's go off the record.      16:11:27

5                 THE VIDEOGRAPHER:      Off the record,          16:11:29

6      16:11.                                                     16:11:30

7                              (A break was had.)                 16:23:39

8                 THE VIDEOGRAPHER:      We're back on the        16:29:49

9      record 16:29.                                              16:29:50

10     BY MR. HENSSLER:                                           16:29:53

11           Q.   Welcome back, sir.      You understand you're   16:29:53

12     still under oath?                                          16:29:56

13           A.   Yes.                                            16:29:58

14           Q.   Okay.    Let's talk about what's referred to    16:29:59

15     as a quiet period.                                         16:30:00

16           A.   Do we need this on?      Okay.                  16:30:02

17           Q.   Let's talk about what's referred to as a        16:30:04

18     quiet period.      You're familiar with that phrase        16:30:06

19     from your time as the CEO of Under Armour, right?          16:30:08

20           A.   Yes.                                            16:30:11

21           Q.   And the quiet period refers to the time         16:30:11

22     between the end of a financial quarter and the             16:30:14




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1      company announcing financial results, right?               16:30:17

2            A.   Yes.                                            16:30:22

3            Q.   And is it your understanding that during        16:30:22

4      the quiet period a public company like Under Armour        16:30:25

5      must avoid selective disclosure of material                16:30:27

6      information?                                               16:30:30

7                 MR. REISNER:     Objection to form, calls for   16:30:31

8      a legal conclusion.       You may answer.                  16:30:33

9            A.   Ask that again.                                 16:30:35

10           Q.   Happy to.                                       16:30:37

11                Is it your understanding that during a          16:30:39

12     quiet period a public company like Under Armour            16:30:40

13     must avoid selective disclosure of material                16:30:43

14     information?                                               16:30:46

15                MR. REISNER:     Same objection.                16:30:48

16           A.   Yeah.   Yes.                                    16:30:49

17           Q.   And the quiet period is something that you      16:30:57

18     were well aware of during the 2015 to 2017 time            16:30:59

19     period as a CEO, right?                                    16:31:04

20           A.   It's been consistent since we went public       16:31:05

21     in November of 2005, yes.                                  16:31:08

22           Q.   And you understood that as a public             16:31:10




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1      was actually reacting to I can't believe he                   16:43:13

2      recorded me.     So it happened, forgotten about it,          16:43:15

3      never thought about it, and certainly have never              16:43:22

4      done -- it's not something that I do.                         16:43:25

5            Q.   You recorded that conversation, right?             16:43:30

6            A.   I believe so, yes.                                 16:43:32

7            Q.   Did you use your iPhone?                           16:43:33

8            A.   It might have happened where it happened           16:43:35

9      to be recording and I think it might have been a              16:43:37

10     surprise because, again, I have no interest in                16:43:39

11     proactively recording anyone.                                 16:43:42

12           Q.   You sent it to someone, right?                     16:43:45

13           A.   I did.                                             16:43:47

14           Q.   Did you accidentally send it to somebody?          16:43:50

15           A.   No.   I proactively sent it to them once I         16:43:53

16     realized that I had the recording and it was sort             16:43:56

17     of an exasperated this is my long night.                      16:43:59

18           Q.   You didn't tell Mr. Mirchin you were               16:44:03

19     recording him at the time you were recording that             16:44:05

20     conversation, right?                                          16:44:07

21           A.   I don't believe I was aware that I was             16:44:08

22     recording that conversation.                                  16:44:09




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1            Q.    You didn't get his permission to record         16:44:10

2      him, right?                                                 16:44:12

3            A.    No, I did not.                                  16:44:13

4                  MR. REISNER:     Objection, asked and           16:44:14

5      answered.                                                   16:44:14

6            Q.    You understand that's the law in Maryland,      16:44:14

7      you have to get someone's permission to record a            16:44:16

8      conversation like that?                                     16:44:18

9            A.    Yeah, but as I said, I don't believe I          16:44:20

10     proactively recorded that conversation with an              16:44:22

11     intent.                                                     16:44:25

12           Q.    Why did you secretly record that                16:44:28

13     conversation with Mr. Mirchin?                              16:44:30

14                 MR. REISNER:     Objection, misstates the       16:44:32

15     evidence.                                                   16:44:33

16           A.    I feel like I've said this a few times.         16:44:33

17     We could be in disagreement if you'd like, but I            16:44:36

18     didn't secretly record that conversation with               16:44:38

19     Mr. Mirchin.     I might have had my phone on, I might      16:44:41

20     have put it down because we were sitting on my back         16:44:44

21     deck and we were, as I said, drinking whiskey.          I   16:44:46

22     might have rested my glass on it, I might have put          16:44:49




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1      an ashtray on it because you can hear there's a                   16:44:51

2      click with a lighter going off as well.                I don't    16:44:53

3      know what happened or how it got recorded.                As I    16:44:56

4      said, I don't have a practice of doing that.                You   16:44:58

5      all have thousands of hours of every inch of audio                16:45:00

6      that we've ever had as a company and there's not a                16:45:02

7      stitch of that happening anywhere else.                So I was   16:45:05

8      as surprised as you were as I stated earlier.                So   16:45:08

9      no, secretly recording was not an intention of                    16:45:13

10     mine.                                                             16:45:14

11             Q.   It was your intention to send that                   16:45:15

12     recording to someone else outside the company,                    16:45:17

13     though, right?                                                    16:45:19

14                  MR. REISNER:   Objection, asked and                  16:45:20

15     answered.                                                         16:45:20

16             A.   Yeah.   I was characterizing it's 8:45 or            16:45:20

17     8:30 at night, I've had a long night, I'm trying to               16:45:24

18     go home, and Matt's holding me here hostage talking               16:45:27

19     about the business.                                               16:45:30

20             Q.   The audio that we just listened to where             16:45:36

21     you said that the Under Armour CFO, Mr. Molloy,                   16:45:38

22     told you that Under Armour should take the quarter                16:45:41




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1      down by $10 million, you'd agree that that was                 16:45:44

2      nonpublic information, right?                                  16:45:47

3                 MR. WAREHAM:     Object to the form,                16:45:49

4      foundation, calls for a legal conclusion.                      16:45:51

5            A.   Can you please ask that question again.             16:45:53

6            Q.   Sure.                                               16:45:56

7                 Nobody outside of the company knew that             16:45:56

8      the CFO came to you and said we've got to take the             16:45:59

9      quarter down 10 million, right?                                16:46:02

10                MR. REISNER:     Objection to form.       You may   16:46:06

11     answer.                                                        16:46:07

12           A.   I don't -- I wouldn't believe so, but I             16:46:08

13     think that a number like $10 million would be                  16:46:09

14     immaterial regardless.                                         16:46:12

15           Q.   Well, I asked whether it was nonpublic              16:46:13

16     information.                                                   16:46:14

17           A.   I wouldn't -- I wouldn't have an opinion,           16:46:17

18     I don't think so, but I think $10 million is sort              16:46:20

19     of variable one way or the other.                              16:46:22

20           Q.   What do you mean by "immaterial"?                   16:46:24

21           A.   $10 million to a billion three or a                 16:46:28

22     billion four quarter is what I would refer to as               16:46:31




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1      not a material amount of money.                           16:46:33

2            Q.   You do agree, though, that that                16:46:36

3      information that Molloy came to you, as you said on       16:46:39

4      the recording, and said we've got to drop the             16:46:42

5      quarter by 10 million, that was nonpublic                 16:46:45

6      information at the time, right?                           16:46:47

7                 MR. REISNER:    Objection to form, asked and   16:46:49

8      answered, three times already.                            16:46:49

9                 MR. HENSSLER:    You can answer.               16:46:51

10           A.   Yeah, it would feel like the kind of           16:46:52

11     information I'd be comfortable sharing with the           16:46:53

12     confidants that I had in my circle with an                16:46:55

13     understanding it would be kept in trust.                  16:46:57

14           Q.   There's never been any disclosure to this      16:46:59

15     day, right, that the CFO of the company came to you       16:47:01

16     in the first quarter of 2016 and said we need to          16:47:04

17     drop the quarter by 10 million, right?                    16:47:08

18                MR. WAREHAM:    Objection to form,             16:47:10

19     foundation, grossly mischaracterizes what                 16:47:11

20     Mr. Molloy says on the record actually happened.          16:47:13

21                MR. HENSSLER:    We're talking about the       16:47:15

22     audio we just listened to.                                16:47:16




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1                 MR. WAREHAM:    I'm talking about the record    16:47:22

2       and I'm objecting to the form of your question.           16:47:22

3                 MR. HENSSLER:    Do you want to play it         16:47:22

4       again?                                                    16:47:22

5                 MR. WAREHAM:    Do you want to fight with me    16:47:22

6       or do you want to ask questions?                          16:47:23

7                 MR. HENSSLER:    Well, you're misstating the    16:47:25

8       record.                                                   16:47:26

9                 MR. WAREHAM:    If you want to fix the          16:47:26

10      infirmed question, fix the infirmed question.        If   16:47:27

11      you want to pick door number three and fight with         16:47:30

12      me, go ahead and do that.      It's late in the day.      16:47:30

13      I'm happy to have it happen.                              16:47:33

14                MR. HENSSLER:    I definitely don't want to     16:47:35

15      fight with anyone.                                        16:47:36

16      BY MR. HENSSLER:                                          16:47:45

17           Q.   You'd agree, sir, that there's never to         16:47:45

18      this day been any public disclosure of what you           16:47:48

19      said on that audio that we just listened to, which        16:47:51

20      is Exhibit 28 to today's deposition, where you said       16:47:53

21      Molloy, the motherfucker, came to you and said            16:47:58

22      we've got to drop the quarter 10 million, right?          16:48:00




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1                 MR. WAREHAM:    Form and foundation            16:48:03

2       objections.                                              16:48:03

3                 MR. REISNER:    Objection to form and asked    16:48:03

4       and answered four times now.                             16:48:04

5                 MR. HENSSLER:    You can answer.               16:48:07

6            A.   Yeah.    I wouldn't know why that would need   16:48:08

7       to be disclosed to anyone, to be honest with you.        16:48:10

8       So no, I'm not aware of any public disclosure            16:48:12

9       that's occurred about that $10 million on the            16:48:15

10      1.3-billion-dollar quarter.                              16:48:19

11           Q.   And you sent that audio that we just           16:48:27

12      listened to to Stephanie Ruhle, right?                   16:48:30

13           A.   I did.    And to Jen Smith.                    16:48:34

14           Q.   And to Jen Smith also?                         16:48:35

15           A.   Yes.                                           16:48:38

16           Q.   Anyone else?                                   16:48:38

17           A.   I don't believe.     So.                       16:48:39

18           Q.   So you shared nonpublic information about      16:48:41

19      Under Armour's business with Stephanie Ruhle at          16:48:45

20      that time, right?                                        16:48:47

21                MR. REISNER:    Objection to form.             16:48:48

22                MR. WAREHAM:    Form objection,                16:48:50




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1       foundation.                                                   16:48:50

2            A.   Well, she's a confidant.                            16:48:50

3            Q.   What does that mean, confidant?                     16:48:52

4            A.   She's someone I can get counsel from.               16:48:53

5            Q.   Did you have a nondisclosure agreement              16:48:55

6       that you'd executed with Ms. Ruhle?                           16:48:58

7            A.   No.                                                 16:49:01

8            Q.   Handshake deal?                                     16:49:01

9            A.   Yeah.   It was an understanding of trust.           16:49:04

10           Q.   And was that something you guys had a               16:49:06

11      conversation about?                                           16:49:07

12           A.   No, not in detail I don't believe.                  16:49:10

13           Q.   So it was just your assumption that you             16:49:12

14      could provide her with nonpublic information about            16:49:13

15      Under Armour's business and she wouldn't mention it           16:49:17

16      to anyone else?                                               16:49:19

17                MR. REISNER:   Objection to form.         You may   16:49:20

18      answer.                                                       16:49:21

19           A.   Yeah.   It was understanding the context is         16:49:21

20      that I would give her counsel on her career and she           16:49:24

21      would give me counsel on things I was dealing with            16:49:26

22      that were either banking or media or human nature             16:49:28




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1       in relation.                                                      16:49:33

2               Q.     Did Ms. Ruhle give you counsel on what we          16:49:38

3       just listened to where you shared with her the fact               16:49:42

4       that Molloy came to you and said we've got to drop                16:49:45

5       the quarter by 10 million?                                        16:49:48

6                      MR. REISNER:    Objection to form.                 16:49:49

7               A.     Yeah.   I don't believe so, but I don't            16:49:51

8       recall a conversation following it.               As I said, I    16:49:52

9       don't recall making the recording, I don't recall                 16:49:57

10      sending the recording out, and I certainly don't                  16:49:58

11      recall discussing the recording.                                  16:50:01

12                                (Plank Exhibit 29 was marked            16:50:07

13                                 for identification.)                   16:50:07

14      BY MR. HENSSLER:                                                  16:50:07

15              Q.     Let's mark the next exhibit, it's 29.              16:50:07

16              A.     I'm going to start meeting you halfway,            16:50:32

17      Tina.        It's late in the day.                                16:50:34

18                     THE REPORTER:    Thank you.                        16:50:37

19                     THE WITNESS:    You got it.                        16:50:38

20              Q.     This is Exhibit 29 to today's deposition.          16:50:39

21      It's also been marked Government Exhibit 213.               For   16:50:41

22      the record, Exhibit 29 is Bates UA-IE-10344888.                   16:50:44




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1       This is you sending that audio file we just               16:50:53

2       listened to to Stephanie Ruhle, right?                    16:50:55

3            A.   Yes.                                            16:51:00

4            Q.   And the e-mail address you sent it to is        16:51:00

5                               , right?                          16:51:03

6            A.   Yes.                                            16:51:08

7            Q.   What is that domain, ravenfoundry.com?          16:51:08

8            A.   It was an e-mail address.                       16:51:13

9            Q.   Did you create that e-mail address?             16:51:14

10           A.   I didn't personally, but yes, it was part       16:51:16

11      of my -- a group that I had.       I had several phones   16:51:19

12      from there.                                               16:51:25

13           Q.   So you created a separate e-mail address        16:51:26

14      for yourself for a specific phone?                        16:51:29

15           A.   Yes.   I had -- I had two or three of those     16:51:31

16      phones for a number of different reasons, and I           16:51:35

17      gave them to friends of mine to communicate with.         16:51:37

18           Q.   So you gave the phone -- I'm sorry.             16:51:40

19           A.   I said I gave them to friends of mine to        16:51:44

20      communicate with.                                         16:51:46

21           Q.   So you gave Stephanie Ruhle a phone with        16:51:46

22      this e-mail address?                                      16:51:48




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1            A.   I did.                                         16:51:49

2            Q.   Who created that e-mail address for you?       16:51:51

3       You said it wasn't you.                                  16:51:54

4            A.   Well, whoever the company was.                 16:51:55

5            Q.   Did one of your assistants handle that for     16:51:57

6       you or you did that yourself?                            16:51:59

7            A.   I don't recall.                                16:52:02

8            Q.   Is that something you typically do             16:52:04

9       yourself or did you have Jen Smith do that?              16:52:05

10           A.   I probably would have someone from my          16:52:07

11      family office, and Jen Smith worked at Under             16:52:09

12      Armour, not at the family office at that time.           16:52:11

13           Q.   And who was Ms. Ruhle at this time?            16:52:23

14           A.   I'm sorry?                                     16:52:27

15           Q.   Who was Ms. Ruhle?     What was the            16:52:28

16      relationship?                                            16:52:30

17           A.   She's a great friend of mine.                  16:52:31

18           Q.   And she did not work for Under Armour,         16:52:33

19      though, right?                                           16:52:35

20           A.   No.                                            16:52:36

21           Q.   She never has worked for Under Armour?         16:52:37

22           A.   No.    Never compensated, never part of it,    16:52:39




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1       no.                                                           16:52:42

2              Q.   And so she's a great friend and I think           16:52:43

3       you said a confidant; is that right?                          16:52:46

4              A.   Yeah.                                             16:52:47

5              Q.   Did she ever fly on the Under Armour jet?         16:52:49

6              A.   Yes, along with 150-plus others.                  16:52:52

7              Q.   How many times?                                   16:52:57

8              A.   Outside -- people outside of Under                16:52:58

9       Armour.                                                       16:52:59

10             Q.   How many times did Ms. Ruhle fly on the           16:53:00

11      Under Armour jet?                                             16:53:01

12             A.   I don't remember.   Less than a handful.          16:53:02

13             Q.   Why did she get to fly on the Under Armour        16:53:04

14      jet?                                                          16:53:06

15             A.   Well, because we were probably going to           16:53:06

16      the same place in the same city and leaving from              16:53:09

17      the same destination.                                         16:53:11

18             Q.   Did you clear that with the Under Armour          16:53:12

19      board of directors having Ms. Ruhle fly on the                16:53:14

20      Under Armour jet?                                             16:53:15

21             A.   Well, it's actually my jet.       So I lease it   16:53:16

22      to Under Armour for Under Armour business and the             16:53:19




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1       company reimburses me for Under Armour-specific            16:53:20

2       travel.    For anything that's outside of that or          16:53:21

3       anybody outside of Under Armour, I would cover that        16:53:25

4       personally or not have that reimbursed.                    16:53:28

5            Q.    Under Armour pays you a monthly lease           16:53:33

6       payment for that jet; is that right?                       16:53:34

7            A.    Yes.     Well, it depends on the year, but it   16:53:37

8       didn't start until about four or five years into my        16:53:42

9       owning a jet, yes.                                         16:53:45

10           Q.    In this time frame, around 2016, the            16:53:47

11      company leased the jet from you, though, right?            16:53:51

12           A.    Portions of the jet, yes.                       16:53:54

13           Q.    Was it like a regular monthly payment that      16:53:55

14      was made to you from the company for the jet?              16:53:58

15           A.    That was one of the aspects as to how we'd      16:54:00

16      get reimbursed, yes.                                       16:54:03

17           Q.    So about 166,000 a month?                       16:54:05

18           A.    That sounds directionally correct.              16:54:09

19           Q.    It was a black Gulfstream; is that              16:54:10

20      correct?                                                   16:54:12

21           A.    It is.                                          16:54:12

22           Q.    Did you clear sharing that inside               16:54:14




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1       information about Under Armour with Ms. Ruhle with         16:54:16

2       the Under Armour board of directors?                       16:54:18

3                  MR. REISNER:    Objection to form, lacks        16:54:20

4       foundation.                                                16:54:22

5            A.    Yeah.   I'm not drawing the same conclusion     16:54:24

6       you are.                                                   16:54:26

7            Q.    The information that was on the recording       16:54:26

8       of you and Mr. Mirchin talking about Mr. Molloy            16:54:28

9       being a motherfucker for telling you that the              16:54:31

10      company needed to drop the quarter 10 million, did         16:54:33

11      you clear with the board of directors that you were        16:54:36

12      sharing that with somebody outside the company,            16:54:39

13      Stephanie Ruhle?                                           16:54:41

14                 MR. REISNER:    Same objection.       You may   16:54:42

15      answer.                                                    16:54:43

16           A.    I more than likely would have had a             16:54:43

17      conversation with my board of directors to describe        16:54:45

18      the same frustration that I described to Ms. Ruhle         16:54:47

19      regarding Mr. Molloy about asking to take a                16:54:50

20      1.3-billion-dollar quarter down $10 million in             16:54:53

21      outlook.    It was probably a similar frustration.         16:54:58

22      Did I get clearance?      I don't believe that that        16:55:00




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1       would be -- I don't believe I would think that was          16:55:02

2       something to get clearance on or for for someone            16:55:05

3       that I had in confidence.                                   16:55:08

4            Q.   So you didn't think you needed the board's        16:55:11

5       clearance to share that inside company information          16:55:13

6       with Ms. Ruhle?                                             16:55:15

7                 MR. REISNER:   Objection to form, assumes         16:55:16

8       facts not in evidence.    You may answer.                   16:55:18

9            A.   To call my board to ask them if I can             16:55:19

10      speak to Ms. Ruhle in confidence?        No, I don't feel   16:55:21

11      I need to do that.                                          16:55:24

12           Q.   Did you share with anyone at the company          16:55:25

13      the fact that you were sharing inside information           16:55:28

14      about Under Armour with Stephanie Ruhle?                    16:55:30

15                MR. REISNER:   Objection to form, assumes         16:55:33

16      facts not in evidence.    You may answer.                   16:55:34

17           A.   I have a number of different outside              16:55:35

18      advisors who I seek counsel from.        I'm very           16:55:38

19      fortunate to have a great black book or Rolodex or          16:55:41

20      a list of names that I can go to to ask counsel for         16:55:43

21      depending on the situation, and when appropriate I          16:55:45

22      would ask different people for their areas of               16:55:47




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1       and put in one place so it wouldn't be violating a              17:12:52

2       quiet period and make sure the people have the                  17:12:55

3       facts of just something that we can say.                        17:12:57

4               Q.    You wanted this sent to everyone, right,          17:12:59

5       that's why you put it in all caps?                              17:13:02

6                     MR. REISNER:       Objection to form.             17:13:04

7               A.    I don't recall.                                   17:13:04

8               Q.    When you put something in all caps like           17:13:05

9       that with an exclamation point, you're adding                   17:13:07

10      emphasis, right?                                                17:13:09

11              A.    Perhaps.                                          17:13:11

12              Q.    And Darren, Camile, Robbie, and Omar, are         17:13:14

13      those financial analysts that covered Under Armour              17:13:19

14      at the time?                                                    17:13:21

15              A.    Camilo.    No.     Darren is Darren Rovell,       17:13:23

16      Omar was independent, Robbie may have been between              17:13:31

17      banks.       I don't know.       Maybe he was still at Bank     17:13:34

18      of America, but he was an analyst at one time for               17:13:37

19      sure.                                                           17:13:39

20              Q.    Cramer refers to Jim Cramer from CNBC?            17:13:40

21              A.    Yeah.                                             17:13:43

22              Q.    And then did you personally send these            17:13:46




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1       refute the Morgan Stanley report?                              17:18:06

2                   MR. WAREHAM:   Form, foundation                    17:18:08

3       objections.                                                    17:18:09

4              A.   I don't recall, but this looks like the            17:18:10

5       basis of facts.                                                17:18:14

6                              (Plank Exhibit 34 was marked            17:18:19

7                               for identification.)                   17:18:19

8       BY MR. HENSSLER:                                               17:18:19

9              Q.   Let's look at Exhibit 34.        For the record,   17:18:19

10      Exhibit 34 is UA_01171520.        This is an e-mail you        17:18:40

11      sent as part of your job as the CEO, right?                    17:18:48

12             A.   I believe, yes.                                    17:18:50

13             Q.   On January 11th, 2016 to Stephanie Ruhle           17:18:51

14      at Bloomberg, correct?                                         17:18:54

15             A.   Well, it looks like I'm just forwarding            17:18:56

16      her some of the response we're getting to --                   17:18:59

17      getting to the report that came out earlier that               17:19:06

18      day.                                                           17:19:08

19             Q.   The Morgan Stanley report?                         17:19:08

20             A.   Correct.                                           17:19:09

21             Q.   And you wrote in your e-mail at 3:41 on            17:19:09

22      January 11th, 2016 to Ms. Ruhle "These analysts are            17:19:14




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1       all over.     Let's get you a list to have them          17:19:19

2       balance that bullshit story poisoning the public         17:19:22

3       markets!"     Right?                                     17:19:26

4                   MR. WAREHAM:   Objection to form.            17:19:29

5            A.     Yeah.   Looks like I probably meant to say   17:19:30

6       "these analysts are all over it."                        17:19:32

7            Q.     As in the analysts are covering the Morgan   17:19:37

8       Stanley report?                                          17:19:42

9            A.     Yeah.   Other people read the report as      17:19:42

10      well and they're reacting to it.                         17:19:44

11           Q.     And you're telling Ms. Ruhle that in your    17:19:46

12      opinion the Morgan Stanley report is poisoning the       17:19:48

13      public markets?                                          17:19:50

14           A.     I can't be sure what I'm talking about       17:19:54

15      there.                                                   17:19:55

16           Q.     The bullshit story that you're referring     17:19:56

17      to, is that the Morgan Stanley report?                   17:19:58

18           A.     Probably.                                    17:20:00

19           Q.     And you sent Ms. Ruhle this analyst report   17:20:03

20      so that she could help you refute the Morgan             17:20:08

21      Stanley report, right?                                   17:20:10

22                  MR. REISNER:   Objection, form, asked and    17:20:11




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1            Q.    Well, your phrase "new math," right?          17:26:03

2            A.    Sure.   I mean, we shared the best ideas.     17:26:05

3            Q.    And you sent it to that ravenfoundry.com      17:26:14

4       e-mail that -- which is the phone that you provided      17:26:18

5       for Ms. Ruhle?                                           17:26:20

6            A.    Yeah.                                         17:26:21

7            Q.    And you wrote to Ms. Ruhle "This is how I     17:26:22

8       feel about our opportunity and I plan to drag my         17:26:24

9       team if I have to forward, and, for the record,          17:26:26

10      having you in my life has helped me write this,"         17:26:29

11      correct?                                                 17:26:32

12           A.    Yeah.                                         17:26:33

13           Q.    The "my team" that you're going to drag       17:26:37

14      forward, that refers to your executive team,             17:26:40

15      right?                                                   17:26:41

16           A.    I think just the Under Armour team in         17:26:42

17      general.                                                 17:26:43

18           Q.    And how did having Ms. Ruhle in your life     17:26:44

19      help you write this e-mail to your executive team?       17:26:47

20           A.    I don't recall, but I think she's a           17:26:51

21      positive force that thinks about moving forward.         17:26:57

22           Q.    And this e-mail was sent to Ms. Ruhle         17:26:59




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1       during a quiet period, correct?                              17:27:01

2               A.   Yeah.   It was sent to that confidential        17:27:05

3       e-mail.                                                      17:27:08

4               Q.   Two days before the investor call, right?       17:27:08

5               A.   Well, as I said, I had her as someone in        17:27:11

6       confidence.                                                  17:27:13

7               Q.   There was no agreement that anything was        17:27:14

8       confidential, right?                                         17:27:15

9                    MR. REISNER:     Objection to form,             17:27:16

10      misstates --                                                 17:27:18

11              A.   There was an agreement.       There was         17:27:18

12      certainly an understanding that it was not to be             17:27:20

13      shared with anyone of anything we discuss, and the           17:27:21

14      same thing regarding her career.                             17:27:25

15              Q.   So what was the agreement?                      17:27:28

16              A.   There's an understanding of                     17:27:31

17      confidentiality, to be able to discuss things that           17:27:33

18      wouldn't be shared.                                          17:27:37

19                   You know what?     I'm either going to fill     17:27:43

20      that bottle or I need to use the restroom as                 17:27:45

21      well.                                                        17:27:48

22                   MR. REISNER:     Can we go off the record and   17:27:48




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1       take a break.       Thank you.                                17:27:49

2                    THE VIDEOGRAPHER:      Going off the record at   17:27:51

3       17:27.                                                        17:27:53

4                               (A break was had.)                    17:39:25

5                    THE VIDEOGRAPHER:      We're back on the         17:39:31

6       record at 17:39.                                              17:39:32

7       BY MR. HENSSLER:                                              17:39:48

8               Q.   Welcome back.    You understand you're still     17:39:48

9       under oath?                                                   17:39:49

10              A.   Yes.                                             17:39:50

11              Q.   And when we took a break you were talking        17:39:50

12      about what you described as the agreement that you            17:39:53

13      had with Stephanie Ruhle.         Could you please            17:39:56

14      describe this confidentiality agreement that you              17:40:01

15      had with Ms. Ruhle.                                           17:40:02

16              A.   It's just an understanding that I had with       17:40:04

17      a few expert advisors from different fields that              17:40:06

18      give me counsel, mentors, friends from time to                17:40:09

19      time,                                                         17:40:12

20              Q.   I'm specifically asking about the                17:40:15

21      agreement with Ms. Ruhle.         Nothing in writing,         17:40:17

22      though, right?                                                17:40:20




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1            A.    No, but it's a sophisticated banker who                17:40:21

2       understands finance, Wall Street, and as well with                17:40:24

3       media.    So there's definitely a depth of                        17:40:30

4       understanding that she would know the consequences                17:40:32

5       of breaching any of that confidentiality.                         17:40:34

6            Q.    What would be the consequences?                        17:40:37

7            A.    I think it would be very dangerous things              17:40:40

8       to do.                                                            17:40:42

9            Q.    What do you mean?                                      17:40:43

10           A.    Inside trading, things like that, trading              17:40:44

11      any of that information, but she wouldn't own the                 17:40:47

12      stock, trade in the stock, advise on the stock.                   17:40:50

13           Q.    We were looking at Exhibit 36.                Do you   17:40:58

14      still have that in front of you?             It's the             17:41:01

15      July 24th, 2016 e-mail that you sent to Ms. Ruhle.                17:41:06

16           A.    Yes.     Got it.                                       17:41:11

17           Q.    You didn't clear with anybody that you                 17:41:11

18      were sharing this information about Under Armour                  17:41:14

19      with Ms. Ruhle, correct?                                          17:41:17

20           A.    No.     And -- no.                                     17:41:18

21           Q.    Okay.     We can put that one aside.                   17:41:20

22                 Let's talk about the 3Q '16 investor call,             17:41:24




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1       advise...," right?                                                  17:42:43

2            A.   Yeah.                                                     17:42:45

3            Q.   And then in your e-mail to Ms. Ruhle you                  17:42:48

4       wrote "Please read the attached script.             This was        17:42:52

5       my first stab at the answer to the big question.                I   17:42:58

6       have evolved since this version and working the                     17:43:02

7       edges of it now...," correct?                                       17:43:05

8            A.   Yeah.                                                     17:43:08

9            Q.   And the big question that you were                        17:43:11

10      answering, does that refer to what you wrote in the                 17:43:13

11      next line of your e-mail where it says "What's the                  17:43:16

12      new news since investor day September 2015 was                      17:43:19

13      800 million and now is 600M-ish??"?                                 17:43:24

14           A.   I don't recall specifically, but that                     17:43:32

15      could be it, yes.                                                   17:43:33

16           Q.   The "new news" in that line of your                       17:43:34

17      e-mail, that does refer to the operating income                     17:43:36

18      that was 800 million and now is going to be guided                  17:43:38

19      to 600 million-ish, right?                                          17:43:43

20                MR. REISNER:   Objection to form.           You may       17:43:45

21      answer.                                                             17:43:49

22           A.   Yes.                                                      17:43:50




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1            Q.   You'd agree that the fact that Under           17:43:50

2       Armour was going to drop operating income guidance       17:43:52

3       was material nonpublic information at this time,         17:43:56

4       right?                                                   17:43:58

5            A.   Yeah, certainly.    This is the eve before     17:43:59

6       our earnings call after the close of the market and      17:44:03

7       looking at seeking counsel on how we could               17:44:06

8       articulate this message to our shareholders and the      17:44:11

9       broader media community.                                 17:44:13

10           Q.   And you understand if somebody had this        17:44:14

11      information, a short sale, for example, they could       17:44:16

12      utilize that information, right?                         17:44:18

13                MR. REISNER:   Objection to form.              17:44:21

14                MR. WAREHAM:   Objection to form,              17:44:21

15      foundation, mischaracterizes the testimony.              17:44:22

16           A.   Yeah.   If someone traded on that              17:44:24

17      information, sure.                                       17:44:26

18           Q.   Let's look at another part of this e-mail      17:44:36

19      you sent to Ms. Ruhle.     The second full paragraph     17:44:38

20      you see there's a star and it says "All those are        17:44:41

21      just"?                                                   17:44:43

22           A.   Yes.                                           17:44:47




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1       going to speak over each other.         We just have to      17:48:37

2       make the record.   So I apologize.        We're not          17:48:37

3       prescient.   I can't tell when he's going to speak,          17:48:37

4       and he can't tell when I'm going to speak.            So     17:48:37

5       we'll slow it down.      You'll get it right.                17:48:37

6                 THE REPORTER:     I'd appreciate it.        It's   17:48:37

7       been a long day.                                             17:48:37

8                 THE WITNESS:     Jamie, you give the               17:48:39

9       objection this time.                                         17:48:40

10                MR. WAREHAM:     Form, foundation objections.      17:48:42

11      BY THE WITNESS:                                              17:48:47

12           A.   What was the question again?                       17:48:47

13           Q.   Happy to restate it.                               17:48:48

14                You'd agree, sir, that you did share               17:48:50

15      material nonpublic information about Under Armour's          17:48:53

16      business during the quiet period by sending this             17:48:55

17      e-mail to Ms. Ruhle, which is Exhibit 37?                    17:48:58

18                MR. WAREHAM:     Form, foundation,                 17:49:01

19      competence, calls for multiple legal conclusions.            17:49:02

20      Go ahead and answer.                                         17:49:05

21           A.   I sent this to her the night before the            17:49:06

22      earnings call, yes, which is technically in the              17:49:08




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1       quiet period but doesn't violate anything within my      17:49:10

2       understanding of trust.                                  17:49:14

3              Q.   And you also agree that this was material    17:49:16

4       nonpublic information, the fact that Under Armour        17:49:19

5       was dropping operating income, correct?                  17:49:21

6                   MR. REISNER:   Objection.                    17:49:23

7                   MR. WAREHAM:   Same objections, form,        17:49:24

8       foundation, competence, calls for a legal                17:49:25

9       conclusion.                                              17:49:28

10                  MR. REISNER:   And asked and answered.       17:49:29

11             A.   Yeah.   I don't know how many times I can    17:49:31

12      tell you.     I had an understanding of trust with       17:49:32

13      her.    She didn't trade in this, her family doesn't     17:49:36

14      trade in this.      She's simply giving me input, the    17:49:39

15      same way I talked to sophist- -- this was a -- yes,      17:49:42

16      this was -- this was during -- during the quiet          17:49:48

17      period technically, yes.                                 17:49:49

18             Q.   And it was material nonpublic information?   17:49:51

19                  MR. WAREHAM:   Same objections, form,        17:49:53

20      foundation, competence, calls for a legal                17:49:54

21      conclusion.                                              17:49:57

22             A.   That was not to be traded on or moved or     17:49:57




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1       acted on, just simply to give reaction to myself.        17:50:00

2            Q.    The answer's yes?                             17:50:04

3                  MR. WAREHAM:     Form, foundation,            17:50:05

4       competence, legal conclusion objections.                 17:50:07

5            A.    Yeah.   Good job.                             17:50:09

6            Q.    At some point, Mr. Frank, your                17:50:18

7       relationship with Ms. Ruhle was brought to the           17:50:20

8       attention of the Under Armour board of directors,        17:50:23

9       correct?                                                 17:50:25

10           A.    My relationship, yes.                         17:50:25

11           Q.    And do you know who alerted the Under         17:50:27

12      Armour board of directors to your relationship with      17:50:29

13      Ms. Ruhle?                                               17:50:33

14           A.    No.                                           17:50:33

15           Q.    You never heard anything about who that       17:50:36

16      might have been?                                         17:50:37

17           A.    This isn't a topic that I was -- I'm          17:50:40

18      interested in.                                           17:50:42

19           Q.    Someone at Under Armour uncovered certain     17:50:44

20      e-mails between you and Ms. Ruhle, right?                17:50:47

21           A.    I'm not aware.                                17:50:49

22           Q.    Did the board of directors see the e-mails    17:50:53




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1       that we have just looked at where you shared                 17:50:56

2       information on Under Armour with Ms. Ruhle during            17:50:59

3       various quiet periods?                                       17:51:01

4                  MR. REISNER:     Objection to form,               17:51:02

5       foundation, competence.                                      17:51:03

6             A.   Yeah, they did.                                   17:51:04

7             Q.   And then did they question you about the          17:51:06

8       e-mails that we've just looked at where you shared           17:51:07

9       confidential Under Armour information with                   17:51:10

10      Ms. Ruhle during various quiet periods?                      17:51:13

11                 MR. WAREHAM:     Form, foundation,                17:51:15

12      competence, legal conclusion, objections.                    17:51:17

13            A.   I spoke with our lead director, yes.              17:51:17

14            Q.   Who's that?                                       17:51:19

15            A.   It was Buzzy Krongard at the time.                17:51:20

16            Q.   And did he ask you questions about those          17:51:23

17      e-mails that you sent Ms. Ruhle?                             17:51:25

18            A.   Yeah.                                             17:51:27

19            Q.   What did he ask you?                              17:51:29

20            A.   I explained to him the nature of our              17:51:30

21      relationship and the mutual understanding of                 17:51:32

22      respect and confidence that we had.                          17:51:36




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1            Q.   What else did he ask you?                         17:51:41

2            A.   I don't recall.                                   17:51:43

3            Q.   Do you recall about when that was?                17:51:46

4            A.   I don't recall.    Was it '18?       '18 or 19?   17:51:52

5       '17, '18, '19.    I don't remember.                         17:51:59

6            Q.   So it was just a one-on-one with the head         17:52:02

7       of the board?                                               17:52:04

8            A.   The conversations I had, yes, in depth was        17:52:05

9       with Buzzy Krongard --                                      17:52:08

10           Q.   Did the --                                        17:52:10

11           A.   -- our lead director.                             17:52:10

12           Q.   I'm sorry.                                        17:52:11

13                Did the Under Armour board of directors           17:52:13

14      take any further actions about what they uncovered          17:52:14

15      about the e-mails to Ms. Ruhle?                             17:52:17

16           A.   I think they wrote -- they wrote a note           17:52:19

17      for a file for me I believe is what happened.               17:52:21

18           Q.   Did they ask you to stop doing that?              17:52:25

19           A.   Yeah.   They asked to -- that they wouldn't       17:52:29

20      look fondly on sharing that information.            I       17:52:32

21      explained the mutual understanding, and they                17:52:35

22      understood it and just said, yep, as a result of            17:52:38




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1       that we're advising you not to do that.                  I said   17:52:41

2       thanks very much, that's really helpful, but we                   17:52:46

3       didn't feel any obligation -- we checked with                     17:52:49

4       counsel.        We didn't feel any obligation to                  17:52:51

5       disclose, to notify anyone, and there was no breach               17:52:53

6       or any evidence of anybody doing anything outside                 17:52:56

7       of other than just exchanging information with one                17:52:58

8       another from time to time.                                        17:53:01

9               Q.     So the board instructed you to stop that           17:53:02

10      practice?                                                         17:53:06

11              A.     What practice?                                     17:53:07

12              Q.     Sharing company inside information with            17:53:08

13      Stephanie Ruhle.                                                  17:53:10

14                     MR. REISNER:     Objection to form.                17:53:11

15              A.     No.   They simply just asked -- there              17:53:12

16      wasn't anything to go to that level of detail, but                17:53:15

17      yeah, they asked please don't e-mail, don't share                 17:53:17

18      back.        You'll have your advisors, talk to who you           17:53:20

19      need to talk to.         That was it.                             17:53:25

20              Q.     Did they say it's okay to continue sharing         17:53:27

21      nonpublic information about the company with                      17:53:29

22      Stephanie Ruhle?                                                  17:53:32




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1            A.   I don't think that was the view.          I think       17:53:33

2       the ask was -- yeah, the sending the e-mail over                  17:53:37

3       the script was one that I didn't have a                           17:53:41

4       recollection of that either and that's one that was               17:53:46

5       pretty arresting to me, but yeah, because I could                 17:53:50

6       see how that would be perceived and it would make                 17:53:53

7       people uncomfortable and it would really press                    17:53:56

8       the -- you know, the confidence from Ms. Ruhle too.               17:53:58

9       So I don't think that put her in a very fair                      17:54:01

10      position and I don't think it was the right thing                 17:54:03

11      for our board or myself.     And so I acknowledged.           I   17:54:05

12      agreed with, you know, Mr. Krongard and said I                    17:54:07

13      wouldn't do that again.                                           17:54:09

14           Q.   And did you then after that conversation                17:54:12

15      with Mr. Krongard stop sharing inside company                     17:54:15

16      information with Ms. Ruhle?                                       17:54:20

17                MR. REISNER:    Objection to form, assumes              17:54:21

18      facts not in evidence.     You may answer.                        17:54:23

19           A.   I mean, we continued to talk, I continued               17:54:25

20      to use Ms. Ruhle as an advisor -- I mean, as                      17:54:27

21      someone that I would share information with.                      17:54:30

22           Q.   So you disregarded Mr. Krongard's                       17:54:33




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